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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          TODD R.,                                      CASE NO. C17-1041JLR

11                               Plaintiff,               ORDER SETTING CASE
                     v.                                   DEADLINES
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            PREMERA BLUE CROSS BLUE
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            SHIELD OF ALASKA,
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                                 Defendant.
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            This matter comes before the court on the parties’ Joint Status Report (JSR (Dkt.
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     # 91)) filed pursuant to the court’s order following the Ninth Circuit’s decision
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     remanding this case to the district court (Order (Dkt. # 90)). The parties state that they
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     intend to file cross-motions for judgment pursuant to Federal Rule of Civil Procedure 52.
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     (See JSR.) They jointly ask the court to set the deadline for filing these motions on April
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     21, 2021. Id.
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     //
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     ORDER - 1
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 1           In addition, Plaintiff Todd R. asks the court to set the deadline for filing amended

 2   pleadings on November 6, 2020. (Id.) Defendant Premera Blue Cross Blue Shield of

 3   Alaska opposes Todd R.’s request. (Id.) The court notes that the original deadline for

 4   filing amended pleadings in this matter was June 13, 2018. (See Sched. Order (Dkt. #

 5   26).)

 6           Having been fully advised, the court ORDERS as follows:

 7           1.      The parties shall file their cross-motions for judgment under Federal Rule

 8   of Civil Procedure 52 by no later than April 21, 2021.

 9           2.      If Todd R. seeks to amend his complaint, he shall file a motion for leave to

10   amend by no later than November 6, 2020.

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12           Dated this 16th day of October, 2020.

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                                                        A
                                                        JAMES L. ROBART
                                                        United States District Judge
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     ORDER - 2
